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  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF NEW JERSEY
   DANIEL D’AMBLY, AARON WOLKIND, STEVE
   HARTLEY, RICHARD SCHWETZ, JOBEL
   BARBOSA, MATTHEW REIDINGER, JOHN HUGO,                 CIVIL ACTION
   SEAN-MICHAEL DAVID SCOTT, THOMAS                       NO.: 2:20-cv-12880-
   LOUDEN, ZACHARY REHL, AMANDA REHL, K.R.,               JMV-JAD
   a minor, by and through her father ZACHARY REHL,
   and her mother AMANDA REHL, MARK ANTHONY               Hon. John M.
   TUCCI,                                                 Vazquez, U.S.D.J.

         Plaintiffs,                                      Oral Argument
                                                          Requested
   vs.
                                                          Return Date:
   CHRISTIAN EXOO a/k/a ANTIFASH GORDON, ST.              February 7, 2022
   LAWRENCE UNIVERSITY, TRIBUNE PUBLISHING
   COMPANY, NEW YORK DAILY NEWS, VIJAYA
   GADDE, TWITTER, INC., COHEN, WEISS AND
   SIMON, LLP, UNNAMED ASSOCIATES 1 - 100.

         Defendants.



  CERTIFICATION OF SERVICE OF DEFENDANT CHRISTIAN EXOO’S
  MOTION TO DISMISS WITH PREJUDICE PURSUANT TO F.R.C.P. Rules
  12(b)(2) and 12(b)(6)
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  RICHARD TORRES, an attorney admitted to practice in the State of New

  Jersey and the United States District Court for the District of New Jersey, hereby

  affirms under penalty of perjury that:

        1.     I along with Christopher Marlborough of The Marlborough Law Firm,

  P.C., represent Defendant Christian Exoo.

        2.     I hereby affirm that the following documents were filed and served

  upon all counsel of record by CM/ECF:

               a. DEFENDANT CHRISTIAN EXOO’S MOTION TO DISMISS
                  WITH PREJUDICE PURSUANT TO F.R.C.P. Rules 12(b)(2) and
                  12(b)(6)

               b. MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
                  CHRISTIAN EXOO’S MOTION TO DISMISS PURSUANT TO
                  F.R.C.P. Rules 12(b)(2) and 12(b)(6)

               c. DECLARATION OF RICHARD TORRES IN SUPPORT OF
                  DEFENDANT CHRISTIAN EXOO’S MOTION TO DISMISS
                  THE SECOND AMENDED COMPLAINT and accompanying
                  Exhibits A through K

               d. PROPOSED ORDER

               e. CERTIFICATION OF SERVICE OF DEFENDANT CHRISTIAN
                  EXOO’S MOTION TO DISMISS WITH PREJUDICE
                  PURSUANT TO F.R.C.P. Rules 12(b)(2) and 12(b)(6)

               f. MOTION TO STRIKE. CM/ECF Document 115

               g. MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
                  CHRISTIAN EXOO’S MOTION TO STRIKE UNDER
                  FEDERAL RULE OF CIVIL PROCEDURE 12(F). CM/ECF
                  Document 115-1
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              h. PROPOSED ORDER. CM/ECF Document 115-2.

        3. I hereby affirm that the above statements are true under penalty of law.




  Dated: January 14, 2022        By:    /s/ ____________________
                                         Richard Torres

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                                        Counsel for Defendant Christian Exoo
